 

PROB 22-DC DOCKET NUMBER (Tran, Court)
(Rev. 2/88) 1:16CR00232-001

 

TRANSFER OF JURISDICTION
DOCKET NUMBER (Ree, Court)

1 20R3.84-1

 

NAME AND ADDRESS OF PROBATIONER/SUBE PEBEASEE: DISTRICT DIVISION

District of Columbia U.S. Probation Office

 

 

NAME OF SENTENCING JUDGE

Ketanji Jackson, United States District Judge

 

DATES OF PROBATION/SUPERVISED FROM TO

RELEASE: 05/28/2020 | 05/27/2023

 

 

 

 

 

 

OFFENSE
Interstate Transport of a Firearm and Ammunition, 18 USC § 924(b)

Assault with a Dangerous Weapon, 22 DCC § 402

 

PART 1 - ORDER TRANSFERRING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised
teleasee named above be transferred with the records of the Court to the United States District Court for the Middle
District of North Carolina upon that Court’s order of acceptance of jurisdiction. This Court hereby expressly consents
that the period of probation or supervised release may be changed by the District Court to which this transfer is made
without further inquiry of this Court.*

 

4 (| 2020

Date

 

 

*This sentence may be deleted in the discretion of the transferring Court,

 

PART 2 - ORDER ACCEPTING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 

 

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and after the entry of this order.

 

July 21, 2020 —
Effective Date United States District Judge

 

 

 

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